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                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF DELAWARE

 3SHAPE A/S,                                   )
                                               )
                  Plaintiff,                   )
                                               )
             v.                                )    C.A. No. 18-886-LPS
                                               )
 ALIGN TECHNOLOGY, INC.,                       )    CONSOLIDATED
                                               )
                  Defendant.                   )

                               STIPULATION TO EXTEND TIME

         The parties hereby STIPULATE AND AGREE, subject to the approval of the Court, that

the below case deadlines are extended as follows:

 Event                                     Current Deadline           New Deadline

 Amended joint claim construction chart    February 18, 2020          February 21, 2020

 Opening claim construction briefs         February 20, 2020          February 24, 2020

 Responsive claim construction briefs      March 11, 2020             March 13, 2020

 Submission of claim construction          March 11, 2020             March 13, 2020
 tutorials
 Submission of comments on opposing        March 18, 2020             March 20, 2020
 party’s claim construction tutorial

    /s/ Geoffrey G. Grivner                            /s/ Jeff Castellano
    Geoffrey G. Grivner (No. 4711)                     John W. Shaw (No. 3362)
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    Dated: February 18, 2020                           jcastellano@shawkeller.com
                                                       Attorneys for Defendant
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IT IS SO ORDERED THIS ___ day of ___________, 2020.


                                                 United States Magistrate Judge




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